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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

IN THE MATTER OF THE APPLICATION

OF THE UNITED STATES OF AMERICA : CASE NO. 1:15-ES-4
FOR AN ORDER AUTHORIZING THE :

INTERCEPTION OF ELECTRONIC : UNDER SEAL
COMMUNICATIONS :

ATTACHMENT A
Case 3:16-cr-00306-D Document 19-2 Filed 10/24/16 Page 2of62 PagelD 62

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IN THE UNITED STATES DISTRICT COURT Pind

FOR THE EASTERN DISTRICT OF VIRGINIA

ALEXANDRIA DIVISION ~ -
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IN THE MATTER OF THE APPLICATION

   

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COMMUNICATIONS UNDER SEAL

APPLICATION FOR AN ORDER AUTHORIZING INTERCEPTION OF
ELECTRONIC COMMUNICATIONS

The United States of America, by and through Assistant United States Attorney
Whitney Dougherty Russell and Trial Attorney Michael Grant (hereinafter “the
prosecutors”), hereby applies to the Court pursuant to Section 2518 of Title 18, United
States Code, for an Order authorizing the interception of electronic communications. In
support of this application, counsel states the following: |

1, The prosecutors are investigative or law enforcement officers of the United
States within the meaning of Section 2510(7) of Title 18, United States Code, that is,
attorneys authorized by law to prosecute or participate in the prosecution of offenses
enumerated in Section 2516(1)(c) of Title 18, United States Code.

2. A copy of the memorandum of an official specially designated by the
Attorney General of the United States authorizing this application is attached to this
application as Exhibit A. . x

3. This application is for an order pursuant to Section 2518 of Titte-+8; United
States Code, authorizing the interception of electronic communications of P|
ia and other unidentified administrators and users (“TARGET SUBJECTS”) of the

child pornography website upf45jv3bziuctml.onion (“TARGET WEBSITE”) occurring
1 ;
Case 3:16-cr-00306-D Document 19-2 Filed 10/24/16 Page 3o0f62 PagelD 63

over the private message function (“TARGET FACILITY 1”) and private chat function
(“TARGET FACILITY 2”), of the TARGET WEBSITE, concerning offenses enumerated
in Section 2516 of Title 18, United States Code.

4, The prosecutors have discussed the circumstances of the above offenses
with Special Agent Caliope Bletsis of the Federal Bureau of Investigation, who has
participated in the conduct of this investigation, and have examined the affidavit of Special
Agent Bletsis, which is attached as Exhibit B to this application and is incorporated herein
by reference. Based upon that affidavit, your applicants state upon information and belief
that:

a. there is probable cause to believe that the TARGET SUBJECTS have
committed, are committing, and will continue to commit violations of the
following offenses:

i. 18U.S.C. § 2252A(g), Engaging in a Child Exploitation Enterprise;

ii, 18 U.S.C. §§ 2251(d)(1) and (e), Advertising and Conspiracy to
Advertise Child Pornography;

iii, 18 U.S.C, §§ 2252A(a)(2)(A) and (b)(1), Receipt and Distribution and |
Conspiracy to Receive and Distribute Child Pornography;

iv. 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2), Knowing Access or
Attempted Access With Intent to View Child Pornography; and

b. there is probable cause that the TARGET SUBJECTS, during the period of
interception authorized by this Order, will use TARGET FACILITY ] and
TARGET FACILITY 2 (together referred to as the “TARGET FACILITIES”), in
furtherance of the offenses described above;

C. There is probable cause to believe that the interception of electronic

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communications of the TARGET SUBJECTS over the TARGET FACILITIES
will reveal: (1) the nature, extent and methods of operation of the TARGET
SUBJECTS’ unlawful activities; (2) the identity of the TARGET SUBJECTS and
their victims, accomplices, aiders and abettors, co-conspirators and participants in
their illegal activities, or information that may be useful in establishing the
identity of their victims, accomplices, aiders and abettors, co-conspirators and
participants in their illegal activities, (3) the advertising, receipt, and
distribution of child pornography related to those activities; (4) the existence and
locations of records relating to those activities; and (5) the location and identity of
computers used to further the target offenses; in addition, these electronic
communications are expected to constitute admissible evidence of the
commission of the above-described offenses. It is expected that monitoring of the
electronic communications of the TARGET SUBJECTS over the TARGET
FACILITIES, if authorized, will provide valuable evidence against the TARGET
SUBJECTS and others currently unknown to law enforcement involved in illegal
activities that cannot reasonably be obtained by other means; and
d, It has been established as detailed in the attached Affidavit that normal
investigative procedures have been tried and have failed, reasonably appear
unlikely to succeed if tried, or are too dangerous to employ.
5. There are no previous applications which are known to have been made to
any judge of competent jurisdiction for approval of the interception of the oral, wire or
electronic communications of any of the same individuals, facilities, or premises specified

in this Application, except as set forth in the affidavit.
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6. This Court has territorial jurisdiction to issue the requested order under

18 U.S.C. § 2518(3) because the computer server intercepting all communications and on
which the TARGET WEBSITE, including the TARGET FACILITIES, are located will be
in Newington, VA, in the Eastern District of Virginia during the period of interception.

WHEREFORE, there is probable cause to believe that the TARGET SUBJECTS
are engaged in the commission of offenses involving violations of Title 18, United States
Code, Sections 2251 and 2252A, and that during the period of interception applied for
herein, the TARGET SUBJECTS will use the TARGET FACILITIES to communicate
with each other and with others as yet unknown, in connection with the commission of
the above-described offenses. The prosecutors also believe that, if the interception herein
applied for is authorized by this Court, electronic communications of the TARGET
SUBJECTS concerning those offenses will be intercepted.

7. On the basis of the allegations contained in this application, which in turn is
based on the attached affidavit of Special Agent Bletsis:

IT IS HEREBY REQUESTED that this Court issue an order pursuant to the
power conferred upon it by Section 2518 of Title 18, United States Code, authorizing FBI
and/or individuals employed by or operating under a contract with the government and
acting under the supervision of the FBI, to intercept electronic communications of the
TARGET SUBJECTS, occurring over the TARGET FACILITIES, until such electronic
communications are intercepted that fully reveal: (1) the nature, extent and methods of
operation of the TARGET SUBJECTS’ unlawful activities; (2) the identity of the
TARGET SUBJECTS and their victims, accomplices, aiders and abettors, co-conspirators

and participants in their illegal activities, or information that may be useful in establishing
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the identity of their victims, accomplices, aiders and abettors, co-conspirators and
participants in their illegal activities; (3) the receipt and distribution of child pornography
related to those activities; (4) the existence and locations of records relating to those
activities; (5) the location and identity of computers used to further the target offenses:
and (6) admissible evidence of the commission of the above-described offenses - or for a
period of thirty (30) days, to be measured from the earlier of the day on which the
investigative or law enforcement officer first begins to conduct an interception under the
Order or 10 days after the Order is entered, whichever is earlier from the date of this
authorization.

IT IS FURTHER REQUESTED that this Court direct that its Order be executed as
soon as practicable after it is signed and that all monitoring of electronic communications
shall be conducted in accordance with Chapter 119 of Title 18, United States Code, as
outlined in Agent Bletsis’s affidavit. That is, the computer server intercepting all
communications. and on which the TARGET FACILITIES are located will be in
Newington, VA, in the Eastern District of Virginia during the period of interception. A
copy of intercepted communications will be sent to a facility in a vi. where
certain FBI personnel will be stationed while the TARGET WEBSITE remains operating,
Each private message and private chat will be reviewed over a secure system, and based
on the identities of the sender and recipient and the content of the private message or
private chat, monitoring personnel will determine as soon as practicable after interception
whether the private message or private chat appears to be relevant to the investigation or
otherwise criminal in nature. If the private message or private chat is not criminal in

nature, the private message or private chat will be marked "minimized" and not accessed
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by other members of the investigative team. If the private message or private chat
appears to be privileged, it will be marked "privileged" and secured from access by other
members of the investigative team. If a private message or private chat appears to be
relevant to the investigation or otherwise criminal in nature, it will be marked "non-
minimized" and may be shared with the other agents and monitors involved in the
investigation. If a private message or private chat is marked "minimized" or "privileged,"
it will not be disseminated to members of the investigative team. All intercepted private
messages and private chats will be sealed with the court upon the expiration of the court's
order authorizing the interception. It is anticipated that the monitoring location will be
staffed at all times, at which time intercepted communications will be monitored and
read. The monitoring location will be kept secured with access limited to only authorized
monitoring personnel and their supervising agents.

IT IS FURTHER REQUESTED that the prosecutors or any other Assistant United
States Attorney or Department of Justice Trial Attorney familiar with the facts of this
case, shall cause to be provided to the Court a report on or about the fifteenth and thirtieth
day following the date of the Order or the date interception begins, whichever is later,
showing the progress that has been made toward achievement of the authorized objectives:
and the need for continued interception, although if the Order is renewed for a further
period of interception, the application for renewal may serve as the report on or about the
thirtieth day. If any of the above-ordered reports should become due on a weekend or
holiday, such report shall become due on the next business day thereafter.

IT IS FURTHER REQUESTED that the Court direct that the Court’s Order, as

well as the supporting Application, Affidavit (along with its attachments), proposed
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Orders, and all interim reports filed with the Court, be sealed until further order of this
Court, except that copies of the Order, in full or redacted form, may be served on FBI
agents as necessary to effectuate the Court’s Order. Moreover, the Government
hereby requests authorization to disclose the existence of the Interception Order and the
contents of pertinent collected electronic communications, pursuant to Title 18, United
States Code, Sections 2517(2) and (3), as appropriate for the purposes of providing
relevant facts to a Court in support of any complaints, arrest warrants or search warrants.
In addition, the Government requests authorization to disclose facts, pursuant to Title 18,
United States Code, Sections 2517(2) and (3), as necessary to provide relevant testimony
at any preliminary hearings, detention hearings, grand jury proceedings and other
proceedings pertaining to the TARGET SUBJECTS and others as yet unknown. The.
Government also requests authorization to disclose facts to foreign investigative or law
enforcement officers, pursuant to Title 18, United States Code, Section 2517(7), as
necessary to the proper performance of the official duties of the offer making or receiving
such disclosure, and that foreign investigative or law enforcement officers may use or
‘disclose such facts or derivative evidence to the extent such use or disclosure is
appropriate to the proper performance of their official duties.

IT IS FURTHER REQUESTED that no inventory or return of the results of the
foregoing interception need be made, other than the above required reports, before 90
days from the date of the expiration of the Order, or any extension of the Order, or at such
time as the Court in its discretion may require.

IT IS FURTHER REQUESTED that, upon an ex parte showing of good cause to a

judge of competent jurisdiction, the service of the above inventory or return may be
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postponed for a further reasonable period of time.

I declare under penalty of perjury that the foregoing is true and correct. °

EXECUTED in Alexandria, Virginia, on February 20, 2015.

By:

Respectfully submitted,

DANA J. BOENTE
UNITED STATES ATAORNEY

Whitney Dotigherty Russell
Assistant United States Attorney

DAMON KING

ACTING CHIEF

Child Exploitation and Obscenity Section
Criminal Division

U.S. Department of Justice

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Michael Grant
Trial Attorney
Case 3:16-cr-00306-D Document 19-2 Filed 10/24/16. Page 10 of 62 PagelD 70

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

IN THE MATTER OF THE APPLICATION

OF THE UNITED STATES OF AMERICA : CASE NO. 1:15-ES-4
FOR AN ORDER AUTHORIZING THE 3

INTERCEPTION OF ELECTRONIC : UNDER SEAL
COMMUNICATIONS :

EXHIBIT A
Case 3:16-cr-00306-D Document 19-2 Filed 10/24/16 Page 11o0f62 PagelD 71

Office of the Attorney General
Washington, D.C,

 

ORDERNO, 3055~2009

SPECIAL DESIGNATION OF CERTAIN OFFICIALS OF THE CRIMINAL DIVISION AND
NATIONAL SECURITY DIVISION TO AUTHORIZE APPLICATIONS FOR COURT
ORDERS FOR INTERCEPTION OF WIRE OR ORAL COMMUNICATIONS

By virtue of the authority vested in me as the Atorney General, including 28 U.S.C.
§ 510, 5 U.S.C, § 301, and 18 U.S.C. § 2516(1), and in order to preclude any contention that the
designations by the prior Attorney General have lapsed, the following officials are hereby
specially designated to exercise the power conferred by section 2516(1) of title 18, United States
Code, to authorize applications to a Pederal judge of competent jurisdiction for orders
authorizing or approving the interception of wire and oral communications by the Federal Bureau |
of Investigation or a Pederal agency having responsibility for the investigation of the offense(s)
as to which such application is made, when such interception may provide evidence of any of the
offenses specified in section 2516 of title 18, United States Code:

- 1,’ The Assistant Attorney General in charge of the Criminal Division, any Acting
Assistant Attorney General in charge of the Criminal Division, any Depnty Assistant, Atiormey
General of the Criminal Division, and any Acting Deputy Assistant Attomey General of the
Criminal Division;

2, The Assistant Attorney General for National Security, any Acting Assistant Attorney
General for National Security, any Deputy Assistant Attorney General for National Security, and
any Acting Deputy Assistant Attorney General for National Security, with respect to those -
matters delegated to the supervision and responsibility of the Assistant Attomey General for
National-Security, These officials of the National Security Division shall exercise this authority
through, and in full coordination with, the Office of Enforcement Operations within the Criminal
Division. '

Attorney General Order No, 2943-2008 of January 22, 2008, is revoked effective at ;
11359 p.m, of the day following the date of this order. . .

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age We OP Sa Sak
Date Eric H, Holder, Jr.

Attorney General
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U.S. Department of Justice

 

Criminal Division

 

Washington, D.C. 20530

The Honorable Dana J. Boente

United States Attorney FEB 18 2015
Eastern District of Virginia

Alexandria, Virginia

Attention: Keith Becker and Michael Grant,
Trial Attorneys, U.S. Department of Justice,
Criminal Division, Child Exploitation and
Obscenity Section

Dear Mr. Boente:

An appropriate official hereby approves an application to
be made to a federal judge of competent jurisdiction for an
order under Section 2518 of Title 18, United States Code,
authorizing, for a thirty (30) day period, the interception of
electronic communications occurring over the private
message function and private chat function of the website
“upf45jv3bziuctml.onion,” in connection with an investigation
into possible violations of federal felonies by Steven W. Chase,
and others as yet unknown.

The above-described application may be made by you or any
other attorney on your staff who is an investigative or law
enforcement officer of the United States within the meaning of
Section 2510(7) of Title 18, United States Code.

Sincerely,

 

eslie R. Caldwell
ssistant Attorney General
iminal Division

FEB 48 2015

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‘Case 3:16-cr-00306-D Document 19-2 Filed 10/24/16 Page 13o0f62 PagelD 73
FILED
IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA
HIS FEB 20 A & 2

ALEXANDRIA DIVISION
CLERK US i iT oy COURT
IN THE MATTER OF THE APPLICATION ALEXANDRIA, VIRGluA
OF THE UNITED STATES OF AMERICA : CASE NO. 1:15-ES-4
FOR AN ORDER AUTHORIZING THE :
INTERCEPTION OF ELECTRONIC : UNDER SEAL

COMMUNICATIONS

AFFIDAVIT IN SUPPORT OF APPLICATION FOR AN ORDER
AUTHORIZING INTERCEPTION OF ELECTRONIC COMMUNICATIONS

I, Caliope Bletsis, being duly swom, state the following:
INTRODUCTION

1, I have been employed as a Special Agent (“SA”) with the Federal Bureau of
Investigation (FBI) since December 2004, and I am currently assigned to the FBI’s Violent
Crimes Against Children Section, Major Case Coordination Unit (‘“MCCU”). I currently
investigate federal violations concerning child pornography and the sexual exploitation of
children and have gained experience through training in seminars, classes, and everyday work
related to these types of investigations. I have participated in the execution of numerous
warrants involving the search and seizure of computers, computer equipment, software, and
electronically stored information, in conjunction with criminal investigations pertaining to child
pornography the sexual exploitation of children. I have received training in the area of child
pornography and child exploitation, and have had the opportunity to observe and review
numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in all forms of media
including computer media. I am an “investigative or law enforcement officer” of the United

States within the meaning of Section 2510(7) of Title 18, United States Code, and am
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empowered by law to conduct investigations of, and to make arrests for, offenses enumerated in
Section 2516 of Title 18, United States Code.

2. This affidavit is submitted in support of the Government's Application for an
Order under Title 18, United States Code, Section 2518, authorizing the interception, for a period
of up to thirty days, of the electronic communications of Re other unidentified
administrators and users (“TARGET SUBJECTS”) of a child pornography website
upf45jv3bziuctml.onion, hereinafter the “TARGET WEBSITE,”! occurring over the private
message function (“TARGET FACILITY 1”) and private chat function (“TARGET FACILITY
2”), of the TARGET WEBSITE.

3. As a result of my personal participation in this investigation, through information
obtained from other federal and foreign law enforcement agents and witnesses, including
physical surveillance and the review of documents, and on the basis of other information that ]
have reviewed and determined to be reliable, I allege facts to show that:

a. There is probable cause to believe that the TARGET SUBJECTS have committed, are

committing, and will continue to commit offenses specified in Title 18, United States
Code, § 2252A(g), Engaging in a Child Exploitation Enterprise; 18 U.S.C. §§
2251(d)(1) and (e), Advertising and Conspiracy to Advertise Child Pornography; 18
U.S.C. §§ 2252A(a)(2)(A) and (b)(1), Receipt and Distribution of, and Conspiracy to
Receive and Distribute Child Pornography, and 18 U.S.C. §§ 2252A(a)(5)(B) and

(b)(2), Knowing Possession of, Access or Attempted Access With Intent to View

 

' The actual name of TARGET WEBSITE is known to law enforcement. The site remains active and disclosure of
the name of the site would potentially alert its members to the fact that law enforcement action is being taken against
the site, potentially provoking members to notify other members of law enforcement action, flee, and/or destroy
evidence. Accordingly, for purposes of the confidentiality and integrity of the ongoing investigation involved in this
matter, specific names and other identifying factors have been replaced with generic terms and the website will be
identified as “TARGET WEBSITE”.
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Child Pornography (collectively, the “TARGET OFF ENSES”).

b. There is probable cause to believe that particular electronic communications of
TARGET SUBJECTS concerning the TARGET OFFENSES will be obtained
through interception of electronic communications occurring over TARGET
FACILITY 1 and TARGET FACILITY 2 (together referred to as the “TARGET
FACILITIES”). In particular, these communications are expected to lead to the
revelation of evidence concerning the TARGET OFFENSES, including the content of
communications between and among the TARGET SUBJECTS. In addition, these
electronic communications are expected to constitute admissible evidence of the
commission of the TARGET OFFENSES.

4. The requested Order is sought for a period of time until the interception fully
reveals the manner in which the TARGET SUBJECTS and their confederates participate in the
TARGET OFFENSES, or for a period of thirty (30) days, whichever occurs first, pursuant to
Title 18, United States Code, Section 2518(5). Pursuant to Section 2518(5) of Title 18, United
States Code, it is further requested that the 30-day period be measured from the earlier of the
date on which investigative or law enforcement officers begin to conduct interception under this
Court’s Order or 10 days from the date of this Court’s Order.

5. The statements contained in this affidavit are based in part on: information
provided by FBI Special Agents; written reports about this and other investigations that I have
received, directly or indirectly, from other law enforcement agents, including foreign law
enforcement agencies as described below; information gathered from the service of
administrative subpoenas; the results of physical and electronic surveillance conducted by

federal agents; independent investigation and analysis by FBI agents/employees/computer
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forensic professionals; and my experience, training and background as a Special Agent with the
FBI.

6. Because this affidavit is being submitted for the limited purpose of securing
authorization for the collection of electronic communications, I have not included each and every
fact known to me concerning this investigation. Instead, I have set forth only the facts that I
believe are necessary to establish the necessary foundation for an order authorizing the
interception of electronic communications occurring over the Internet via communications
occurring over TARGET FACILITY 1 and TARGET FACILITY 2.

RELEVANT STATUTES

7. This investigation concerns alleged violations of: Title 18, United States Code, §
2252A(g), Engaging in a Child Exploitation Enterprise; 18 U.S.C. §§ 2251(d)(1) and (e),
Advertising and Conspiracy to Advertise Child Pornography; 18 U.S.C. §§ 2252A(a)(2)(A) and
(b)(1), Receipt and Distribution of, and Conspiracy to Receive and Distribute Child
Pornography; and 18 U.S.C. §§2252A(a)(5)(B) and (b)(2), Knowing Possession of, Access or
Attempted Access With Intent to View Child Pornography.

a. 18 U.S.C. § 2252A(g) prohibits a person from engaging in a child exploitation
enterprise. A person engages in a child exploitation enterprise if the person violates,
inter alia, federal child pornography crimes listed in Title 18, Chapter 110, as part of
a series of felony violations constituting three or more separate incidents and
involving more than one victim, and commits those offenses in concert with three or
more other persons;

b. 18 U.S.C. §§ 2251(d)(1) and (e) prohibits a person from knowingly making, printing

or publishing, or causing to be made, printed or published, or conspiring to make,
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print or publish, any notice or advertisement seeking or offering: (A) to receive,
exchange, buy, produce, display, distribute, or reproduce, any visual depiction, if the
production of such visual depiction involves the use of a minor engaging in sexually
explicit conduct and such visual depiction is of such conduct, or (B) participation in
any act of sexually explicit conduct by or with any minor for the purpose of
producing a visual depiction of such conduct;

c. 18 U.S.C. §§ 2252A(a)(2) and (b)(1) prohibits a person from knowingly receiving or
distributing, or conspiring to receive or distribute, any child pornography or any
material that contains child pornography, as defined in 18 U.S.C. § 2256(8), that has
been mailed, or using any means or facility of interstate or foreign commerce shipped
or transported in or affecting interstate or foreign commerce by any means, including
by computer; and

d. 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2) prohibits a person from knowingly
possessing or knowingly accessing with intent to view, or attempting to do so, any
material that contains an image of child pornography, as defined in 18 U.S.C. §
2256(8), that has been mailed, or shipped or transported using any means or facility
of interstate or foreign commerce or in or affecting interstate or foreign commerce by
any means, including by computer, or that was produced using materials that have
been mailed or shipped or transported in or affecting interstate or foreign commerce
by any means, including by computer.

DESCRIPTION OF TARGET FACILITIES
8. TARGET FACILITY 1: The private message function of the TARGET

WEBSITE is similar to e-mail messages and allows the TARGET SUBJECTS to send and
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receive communications with other users and/or administrator(s) of the TARGET WEBSITE,
such that the private message is only accessible to the user who sent or received such a message
and the site administrator(s).

9. TARGET FACILITY 2: The private chat function of the TARGET WEBSITE
allows the TARGET SUBECTS to communicate in real-time directly with each other and the
communications are only visible and accessible to the users engaged in the private chat and the
administrator(s).

10. Other than TARGET FACILITY 1 and TARGET FACILITY 2, described above,
there are no other private areas of the TARGET WEBSITE where communications are only
visible to some, but not all, registered users.

TARGET SUBJECTS

1

EE 2.) other current users and administrators of the TARGET WEBSITE remain
unidentified.
DEFINITIONS OF TECHNICAL TERMS USED IN THIS AFFIDAVIT

12. The following definitions apply to this Affidavit:

a. “Bulletin Board” means an Internet-based website that is either secured (accessible
with a password) or unsecured, and provides members with the ability to view
postings by other members and make postings themselves. Postings can contain text
messages, still images, video images, or web addresses that direct other members to
specific content. Bulletin boards are also referred to as “internet forums” or “message

boards.” A “post” or “posting” is a single message posted by a user. Users of a
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bulletin board may post messages in reply to a post. A message “thread,” often
labeled a “topic,” refers to a linked series of posts and reply messages. Message
| threads or topics often contain a title, which is generally selected by the user who
posted the first message of the thread. Bulletin boards often also provide the ability
for members to communicate on a one-to-one basis through “private messages.”
Private messages are similar to e-mail messages that are sent between two members
of a bulletin board. They are accessible only by the user who sent/received such a
message, or by the site administrator.

b. “Child erotica,” as used herein, means any material relating to minors that serves
a sexual purpose for a given individual, including fantasy writings, letters, diaries,
books, sexual aids, souvenirs, toys, costumes, drawings, and images or videos of
minors that are not sexually explicit. |

Cc. “Child Pornography,” as used herein, is defined in 18 U.S.C. § 2256(8) as any
visual depiction of sexually explicit conduct where (a) the production of the visual
depiction involved the use of a minor engaged in sexually explicit conduct, (b) the
visual depiction is a digital image, computer image, or computer-generated image that
is, or is indistinguishable from, that of a minor engaged in sexually explicit conduct,
or (c) the visual depiction has been created, adapted, or modified to appear that an
identifiable minor is engaged in sexually explicit conduct.

d. “Computer,” as used herein, is defined pursuant to 18 U.S.C. § 1030(e)(1) as “an
electronic, magnetic, optical, electrochemical, or other high speed data processing
device performing logical or storage functions, and includes any data storage facility

or communications facility directly related to or operating in conjunction with such
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device.”

e. “Computer Server” or “Server,” as used herein, is a computer that is attached to a
dedicated network and serves many users. A web server, for example, is a computer
which hosts the data associated with a website. That web server receives requests
from a user and delivers. information from the server to the user’s computer via the
Internet. A domain name system (“DNS”) server, in essence, is a computer on the
Internet that routes communications when a user types a domain name, such as
www.cnn.com, into his or her web browser. Essentially, the domain name must be
translated into an Internet Protocol (“IP”) address so the computer hosting the web
site may be located, and the DNS server provides this function.

f. “Computer hardware,” as used herein, consists of all equipment which can
receive, capture, collect, analyze, create, display, convert, store, conceal, or transmit
electronic, magnetic, or similar computer impulses or data. Computer hardware
includes any data-processing devices (including, but not limited to, central processing
units, internal and peripheral storage devices such as fixed disks, external hard drives,
floppy disk drives and diskettes, and other memory storage devices); peripheral
input/output devices (including, but not limited to, keyboards, printers, video display
monitors, and related communications devices such as cables and connections), as
well as any devices, mechanisms, or parts that can be used to restrict access to
computer hardware (including, but not limited to, physical keys and locks).

g. “Computer software,” as used herein, is digital information which can be
interpreted by a computer and any of its related components to direct the way they

work. Computer software is stored in electronic, magnetic, or other digital form. It
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I.

commonly includes programs to run operating systems, applications, and utilities.

“Computer-related documentation,” as used herein, consists of written, recorded,
printed, or electronically stored material which explains or illustrates how to
configure or use computer hardware, computer software, or other related items.

“Computer passwords, pass-phrases and data security devices,” as used herein,
consist of information or items designed to restrict access to or hide computer
software, documentation, or data. Data security devices may consist of hardware,
software, or other programming code. A password or pass-phrase (a string of alpha-
numeric characters) usually operates as a sort of digital key to “unlock” particular
data security devices. Data security hardware may include encryption devices, chips,
and circuit boards. Data security software of digital code may include programming
code that creates “test” keys or “hot” keys, which perform certain pre-set security
functions when touched. Data security software or code may also encrypt, compress,
hide, or “booby-trap” protected data to make it inaccessible or unusable, as well as
reverse the progress to restore it.

“Hyperlink” refers to an item on a web page which, when selected, transfers the
user directly to another location in a hypertext document or to some other web page.

The “Internet” is a global network of computers and other electronic devices that
communicate with each other. Due to the structure of the Internet, connections
between devices on the Internet often cross state and international borders, even when
the devices communicating with each other are in the same state.

“Internet Service Providers” (“ISPs”), as used herein, are commercial

organizations that are in business to provide individuals and businesses access to the
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Internet. ISPs provide a range of functions for their customers including access to the
Internet, web hosting, e-mail, remote storage, and co-location of computers and other
communications equipment. JSPs can offer a range of options in providing access to
the Internet including telephone based dial-up, broadband based access via digital
subscriber line (“DSL”) or cable television, dedicated circuits, or satellite based
subscription. ISPs typically charge a fee based upon the type of connection and
volume of data, called bandwidth, which the connection supports. Many ISPs assign
each subscriber an account name — a user name or screen name, an “e-mail address,”
an e-mail mailbox, and a personal password selected by the subscriber. By using a
computer equipped with a modem, the subscriber can establish communication with an
ISP over a telephone line, through a cable system or via satellite, and can access the
Internet by using his or her account name and personal password.

m. “Intemet Protocol address” or “IP address” refers to a unique number used by a
computer to access the Internet. IP addresses can be “dynamic,” meaning that the
Internet Service Provider (“ISP”) assigns a different unique number to a computer
every time it accesses the Internet. IP addresses might also be “static,” if an ISP
assigns a user’s computer a particular IP address which is used each time the computer
accesses the Internet. IP addresses are also used by computer servers, including web

servers, to communicate with other computers.

n. “Minor” means any person under the age of eighteen years. See 18 U.S.C. §
2256(1).
oO. A “Proxy Server” is a server (a computer system or an application) that acts as an

intermediary for requests from clients seeking resources from other servers. Proxy

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servers can facilitate access to content on the World Wide Web and prove anonymity.

p. The terms “records,” “documents,” and “materials,” as used herein, include all
information recorded in any form, visual or aural, and by any means, whether in
handmade form (including, but not limited to, writings, drawings, painting),
photographic form (including, but not limited to, microfilm, microfiche, prints, slides,
negatives, videotapes, motion pictures, photocopies), mechanical form (including, but
not limited to, phonograph records, printing, typing) or electrical, electronic or
magnetic form (including, but not limited to, tape recordings, cassettes, compact discs,
electronic or magnetic storage devices such as floppy diskettes, hard disks, CD-ROMs,
digital video disks (“DVDs”), Personal Digital Assistants (“PDAs”), Multi Media
Cards (“MMCs”), memory sticks, optical disks, printer buffers, smart cards, memory
calculators, electronic dialers, or electronic notebooks, as well as digital data files and
printouts or readouts from any magnetic, electrical or electronic storage device).

q. “Sexually explicit conduct” means actual or simulated (a) sexual intercourse,
including genital-genital, oral-genital, anal-genital, or oral-anal, whether between
persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or
masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any
person. See 18 U.S.C. § 2256(2).

r “Visual depictions” include undeveloped film and videotape, and data stored on
computer disk or by electronic means, which is capable of conversion into a visual
image. See 18 U.S.C. § 2256(5).

S. “Website” consists of textual pages of information and associated graphic images.

The textual information is stored in a specific format known as Hyper-Text Mark-up

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Language (“HTML”) and is transmitted from web servers to various web clients via
Hyper-Text Transport Protocol (“HTTP”).
SUMMARY OF PROBABLE CAUSE

13. The TARGET SUBJECTS are the administrators and users of the TARGET
WEBSITE who regularly send and receive illegal child pornography via the TARGET
WEBSITE which operates as a “hidden services” located on the Tor network, further described
below. This TARGET WEBSITE is dedicated to the advertisement and distribution of child
pornography, the discussion of matters pertinent to child sexual abuse, including methods and
tactics offenders use to abuse children, as well as methods and tactics offenders use to avoid law
enforcement detection while perpetrating online child sexual exploitation crimes such as the
TARGET OFFENSES. As of February 12, 2015, a law enforcement agent visited the TARGET
WEBSITE, in an undercover capacity, and confirmed that the site remains active, accessible and
substantially the same as described herein.

The Tor Network

14. The TARGET WEBSITE operates on an anonymity network available to Internet
users known as “The Onion Router” or “Tor” network. Tor was originally designed,
implemented, and deployed as a project of the U.S. Naval Research Laboratory for the primary
purpose of protecting government communications. It is now available to the public at large.
Information documenting what Tor is and how it works is provided on the publicly accessible
Tor website at www.torproject.org. In order to access the Tor network, a user must install Tor
software either by downloading an add-on to the user’s web browser or by downloading the free

“Tor browser bundle” available at www.torproject.org.”

 

* Users may also access the Tor network through so-called “gateways” on the open Internet such as “‘onion.to” and
“tor2web.org,” however, use of those gateways does not provide users with the anonymizing benefits of the Tor

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15. Tor software protects users’ privacy online by bouncing their communications
around a distributed network of relay computers run by volunteers all around the world, thereby
masking the user’s actual IP address which could otherwise be used to identify a user. It
prevents someone attempting to monitor an Internet connection from learning what sites a user
visits, prevents the sites the user visits from learning the user’s physical location, and it lets the
user access sites which could otherwise be blocked. Because of the way Tor routes
communications through other computers, traditional IP identification techniques are not viable.
When a user on the Tor network accesses a website, for example, the IP address of a Tor “exit
node,” rather than the user’s actual IP address, shows up in the website’s IP log. An exit node is
the last computer through which a user’s communications were routed. There is no practical way
to trace the user’s actual IP back through that Tor exit node IP. In that way, using the Tor
network operates similarly to a proxy server.

16. Tor also makes it possible for users to hide their locations while offering various
kinds of services, such as web publishing, forum/website hosting, or an instant messaging server.
Within the Tor network itself, entire websites can be set up as “hidden services.” Hidden
services, like other websites, are hosted on computer servers that communicate through IP
addresses and operate in the same manner as regular public websites with one critical exception.
The IP address for the web server is hidden and instead is replaced with a Tor-based web
address, which is a series of algorithm-generated characters, such as “asdlk8fs9dflku7f” followed
by the suffix “.onion.” A user can only reach these hidden services if the user is using the Tor
client and operating in the Tor network. And unlike an open Internet website, is not possible to
determine through public lookups the IP address of a computer hosting a Tor hidden service.

Neither law enforcement nor users can therefore determine the location of the computer that

 

network.

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hosts the website through those public lookups.

Finding and Accessing the TARGET WEBSITE

17. Accordingly, unlike on the traditional Internet, a user may not simply perform a
Google search for the name of the TARGET WEBSITE on Tor to obtain and click on a link to
the site. A user might obtain the web address directly from communicating with other users of
the board, or from Internet postings describing the sort of content available on the TARGET
WEBSITE as well as the site’s location. For example, there is a Tor “hidden service” page that
is dedicated to pedophilia and child pornography. That “hidden service” contains a section with
links to Tor hidden services that contain child pornography, including the TARGET WEBSITE.
Accessing the TARGET WEBSITE therefore requires numerous affirmative steps by a user,
making it extremely unlikely that any user could simply stumble upon the website without
understanding its purpose and content. In addition, upon arrival at the TARGET WEBSITE, the
user sees images of prepubescent females partially clothed and whose legs are spread with
instructions for joining the site before one can enter. Accordingly, there is probable cause to
believe that, for the reasons described below, any user who successfully accesses the TARGET
WEBSITE has knowingly accessed with intent to view child pornography, or attempted to do so.

Description of TARGET WEBSITE Content and Criminal Use of the TARGET
FACILITIES

18. Between September 16, 2014 and February 3, 2015, FB] Special Agents, acting in

an undercover capacity, connected to the Internet via the Tor Browser and accessed TARGET

WEBSITE.’ The TARGET WEBSITE is a message board website whose primary purpose is the

 

7 As of February 18, 2015, the URL of the TARGET WEBSITE had changed from muff7i44irws3mwu.onion to
upf4Sjv3bziuctml.onion. | am aware from my training and experience that it is possible for a website to be moved

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advertisement and distribution of child pornography. According to statistics posted on the site,
TARGET WEBSITE contained a total of 95,148 posts, 9,333 total topics, and 158,094 total
members. Based on the earliest known post, the website appeared to have been operating since
approximately August 19, 2014.

19. On the main page of the site, located to either side of the site name were two
images depicting partially clothed prepubescent females with their legs spread apart, along with
the text underneath stating, “No cross-board reposts, .7z preferred, encrypt filenames, include
preview, Peace out.” Based on my training and experience, I know that: “no cross-board
reposts” refers to a prohibition against material that is posted on other websites from being “re-
posted” to TARGET WEBSITE; and “.7z” refers to a preferred method of compressing large
files or sets of files for distribution. Two data-entry fields with a corresponding “Login” button
were located to the right of the site name. Located below the aforementioned items was the
message, "Warning! Only registered members are allowed to access the section. Please login
below or ‘register an account’ (a hyperlink to the Tegistration page) with [TARGET
WEBSITE]." Below this message was the "Login" section, consisting of four data-entry fields
with the corresponding text, "Username, Password, Minutes to stay logged in, and Always stay
logged in."

20. Upon accessing the “register an account” hyperlink, the following message was

displayed:

"VERY IMPORTANT. READ ALL OF THIS PLEASE.

I will add to this as needed.

 

from one URL to another without altering its content or functionality. | am also aware from the instant investigation
that the administrator of the TARGET WEBSITE periodically changes the location and URL of the TARGET
WEBSITE in order to avoid law enforcement detection. An FBI agent accessed the TARGET WEBSITE in an
undercover capacity on February 18, 2015, at its new URL, and determined that its content has not changed.

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The software we use for this forum requires that new users enter an email address, and
checks that what you enter looks approximately valid. We can't turn this off but the
forum operators do NOT want you to enter a real address, just something that matches the
Xxx@yyy-zzz pattern. No confirmation email will be sent. This board has been
intentionally configured so that it WILL NOT SEND EMAIL, EVER. Do not forget your
password, you won't be able to recover it.

After you register and login to this forum you will be able to fill out a detailed profile.
For your security you should not post information here that can be used to identify you.

Spam, flooding, advertisements, chain letters, pyramid schemes, and solicitations are
forbidden on this forum.

Note that it is impossible for the staff or the owners of this forum to confirm the true
identity of users or monitor in realtime all messages posted, and as such we are not
responsible for the content posted by those users. You remain solely responsible for the
content of your posted messages.

The forum software places a cookie, a text file containing bits of information (such as
your username and password), in your browser's cache. This is ONLY used to keep you
logged in/out. This website is not able to see your IP and can not collect or send any other
form of information to your computer except what you expressly upload. For your own
security when browsing or Tor we also recomend that you turn off javascript and disable
sending of the 'referer' header."
21. After accepting the above terms, registration to the message board then requires a
user to enter a username, password, and e-mail account; although a valid e-mail account was not
required as described above. After successfully registering and logging into the site, the

following sections, forums, and sub-forums, along with the corresponding number of topics and

posts in each, were observed:

Section — Forum Topics Posts

General Category
[TARGET WEBSITE] information and rules 25 236
How to 133 863
Security & Technology discussion 28] 2,035
Request 650 2,487
General Discussion 1,390 13,918
The INDEXES 10 119
Trash Pen 87 1,273

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[TARGET WEBSITE] Chan

Jailbait’ — Boy 58 154
Jailbait — Girl 271 2,334
Preteen — Boy 32 257
Preteen — Girl 264 3,763
Jailbait Videos
Girls 643 8,282
Boys 34 183
Jailbait Photos
Girls 339 2,590
Boys 6 39
Pre-teen Videos
Girls HC° 1,427 20,992
Girls SC/NN 514 5,635
Boys HC 87 1,256
Boys SC/NN 48 193
Pre-teen Photos
Girls HC 433 5,314
Girls SC/NN 486 4,902
Boys HC 38 330
Boys SC/NN 31 135
Webcams
- Girls 133 2,423.
Boys 5 12
Potpourri
Family [TARGET WEBSITE] — Incest 76 1,718
Toddlers 106 1,336
Artwork 58 314
Kinky Fetish
Bondage 16 222
Chubby 27 309
Feet 30 218
Panties, nylons, spandex 30 369
Peeing 101 865
Scat , 17 232

 

* Based on my training and experience, I know that “jailbait” refers to underage but post-pubescent minors.

* Based on my training and experience, | know that the following abbreviations respectively mean: HC ~ hardcore,
i.¢., depictions of penetrative sexually explicit conduct; SC — softcore, i.e., depictions of non-penetrative sexually
explicit conduct; NN — non-nude, i.e., depictions of subjects who are fully or partially clothed.

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Spanking 28 251

Vintage 84 878
Voyeur 37 454
Zoo 25 222
Other Languages
Italiano 34 1,277
Portugues 69 905
Deutsch 66 570
Espanol 168 1,614
Nederlands 18 264
Pyccknn — Russian 8 239
Stories
Fiction 99 505
Non-fiction 122 675

22. An additional section and forum was also listed in which members could
exchange usernames on a Tor-network-based instant messaging service that I know, based upon
my training and experience, to be commonly used by subjects engaged in the online sexual
exploitation of children. Another service available to users was the ability to send private chat
messages between users.

23. A review of the various topics within the above forums revealed each topic
contained a title, the author, the number of replies, the number of views, and the last post. The
last post section included the date and time of the post as well as the author. Upon accessing a
topic, the original post appeared at the top of the page, with any corresponding replies to the
original post included the post thread below it. Typical posts appeared to contain text, images,
thumbnail-sized previews of images, compressed files (such as Roshal Archive files, commonly
referred to as “.rar” files, which are used to store and distribute multiple files within a single
file), links to external sites, or replies to previous posts.

24. A review of the various topics within the “[TARGET WEBSITE] information and

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rules,” “How to,” “General Discussion,” and “Security & Technology discussion” forums
revealed the majority contained general information in regards to the site, instructions and rules
for how to post, and welcome messages between users.

25. A review of topics within the remaining forums revealed the majority contained
discussions, as well as numerous images that appeared to depict child pomography and child

erotica of prepubescent females, males, and toddlers. Examples of these are as follows:

On February 3, 2015, the user ‘hi posted a topic entitled ‘ii in

the forum “Pre-teen — Videos - Girls HC” that contained numerous images
depicting a prepubescent or early pubescent female engaged in sexually explicit
conduct. One of these images depicted the female being orally penetrated by the
penis of a naked male.

On January 30, 2015, the user i: posted a topic entitled ‘i in the

forum “Pre-teen Photos — Girls HC” that contained hundreds of images depicting
a prepubescent female engaged in sexually explicit conduct. One of these images
depicted the female being orally penetrated by the penis of a male.

On September 16, 2014, the user ‘ii posted a topic entitled "A
"in the “Pre-teen Videos - Girls HC” forum that contained four images

depicting a prepubescent female engaged in sexually explicit conduct and a
hyperlink to an external website that contained a video file depicting what
appeared to’ be the same prepubescent female. Among other things, the video
depicted the prepubescent female, who was naked from the waist down with her
vagina and anus exposed, lying or sitting on top of a naked adult male, whose
penis was penetrating her anus.

26. A list of members, which was accessible after registering for an account, revealed
that approximately 100 users made at least 100 posts to one or more of the forums.
Approximately 31 of these users made at least 300 posts. Analysis of available historical data
seized from the TARGET WEBSITE, as described below, revealed that on average over 1,500
unique users visited the website daily and over 11,000 unique users visited the website over the

course of a week. A private message feature, TARGET FACILITY 1, also appeared to be

available on the site, after registering, that allowed users to send other users private messages,

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referred to as “personal messages” or “PMs,” which are only accessible to the sender and
recipient of the message. Review of the site demonstrated that the site administrator made a
posting on January 28, 2015, in response to another user in which he stated, among other things,
“Yes PMs should now be fixed. As far as a limit, I have not deleted one yet and I have a few
hundred there now....”

27. Further review revealed numerous additional posts referencing private messages
or PMs regarding posts related to child pornography, including one posted by a user stating,
“Yes i can help if you are a teen boy and want to fuck your little sister. write me a private
message.”

28. Additionally, law enforcement agents reviewed hundreds of private messages
occurring over TARGET FACILITY 1 that were in furtherance of the TARGET OFFENSES
and/or provided information on the identities of the TARGET SUBJECTS. These private
messages were collected over the server for the TARGET WEBSITE, and law enforcement was
able to access these messages through the server copy that was obtained from the search warrant
for the TARGET WEBSITE in January 2015. Examples of these messages, which law
enforcement believes discusses the sexual abuse of minors, are as follows:

a. On January 10, 2015, the user Pe sent a private message to the user
Po stating: “Hi, thnx! She is cute and tasty indeed...She's arround
1,5yo on that photo....] play with her everytime I have her alone, started from arround
3/4 mo...She's now 3,5. | also have another niece, also 3,5 but they are not sisters,
and as tasty as the other one ;-) Never had them together at once unfortunately! I
only tried anal once with the niece in my avatar when she was 2,5, almost got the

head of my cock inside.... Never penetrated their pussies (except with my tongue) and

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never cummed inside their asses or pussies directly (all too dangerous) For the rest, I
did everything...Even thought a couple of times to show them on my webcam, naked
etc, but never got to do that...”

b. On January 6, 2015, user ia sent a private message to P| that
contained the following: “My personal feelings are that were you to have a
consensual sexual relationship with a child that she enjoyed, two things might make
her regret it in her late teens and early twenties. One is the knowledge that her sexual
partner was her father and two, the sex was recorded. My name BB exces to
my 1080p HD hidden camera glasses J have for recording purposes although I plan to
use them with another little girl in my life, a 5 year old brunette pixie not related to
me by blood. POV porn is another favorite of mine. ;).”

c. On December 16, 2014, the user P| sent a private message to the user
BE siting the following: “but contact me only if you are ready to rape your
sisters. when you think they are too good for you then don't waste my time!”

29. Based on my training and experience and the review of the site by law
enforcement agents, I believe that the private message function of the TARGET WEBSITE site,
described above as TARGET FACILITY 1, is being used to communicate regarding the
dissemination of child pornography and to share information among users that may assist in the
identification of the TARGET SUBJECTS.

30. The TARGET WEBSITE also includes a feature referred to as "[TARGET
WEBSITE] Image Hosting." This feature of the TARGET WEBSITE allows users of the
TARGET WEBSITE to upload images of child pornography that are in turn, only accessible to

users of the TARGET WEBSITE. On February 12, 2015, an FBI agent operating in an

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undercover capacity accessed a post on the TARGET WEBSITE titled BE «nich was
created by the TARGET WEBSITE user The post contained links to images
stored on "[TARGET WEBSITE] Image Hosting". The images depicted a prepubescent female
in various states of undress. Some images were focused on the nude genitals of a prepubescent
female. Some images depicted an adult male's penis partially penetrating the vagina of a
prepubescent female.

31. The TARGET WEBSITE also includes a feature referred to as "[TARGET
WEBSITE] File Hosting.” This feature of TARGET WEBSITE allows users of TARGET
WEBSITE to upload videos of child pornography that are in turn, only accessible to users of
TARGET WEBSITE. On February 12, 2015, an FBI Agent operating in an undercover capacity
accessed a post on the TARGET WEBSITE titled a + ich was created by
the TARGET WEBSITE user BE 1- post contained a link to a video file stored on
"([TARGET WEBSITE] File Hosting." The video depicted an adult male masturbating and
ejaculating into the mouth of a nude, prepubescent female.

32. The TARGET WEBSITE also includes a feature referred to as "[TARGET
WEBSITE] Chat." On February 6, 2015, an FBI Special Agent accessed "[TARGET WEBSITE}
Chat" which was hosted on the same URL as the TARGET WEBSITE. The hyperlink to access
"[TARGET WEBSITE] Chat" was located on the main index page of the TARGET WEBSITE.
After logging in to [TARGET WEBSITE] Chat, more than 50 users were observed to be logged
in to the service. While logged in to [TARGET WEBSITE] Chat, the following observations
were made:

a. User BE posted a link to an image that depicted four females performing oral sex

on each other. At least two of the females depicted were prepubescent.

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b. User | posted a link to an image that depicted a prepubescent female with an

amber colored object inserted into her vagina.

c. User | Ee a Jink to an image that depicted two prepubescent females

laying on a bed with their legs in the air exposing their genitals.

d. Other images that appeared to depict child pornography were also observed.

33. The images. described above, as well as other images, were captured and are
maintained as evidence.

34. | Messages posted in [TARGET WEBSITE] Chat are generally public and
available for all users to see. A review of [TARGET WEBSITE] Chat showed that it also
contained a feature allowing users of [TARGET WEBSITE] Chat to send messages privately,
over TARGET FACILITY 2, which are only visible to the sender and intended recipient(s).
Examples of messages sent using TARGET FACILITY 2 were collected over the server for the
TARGET WEBSITE, and law enforcement was able to access these messages through the server
copy that was obtained from the search warrant for the TARGET WEBSITE in January 2015.
Examples of these messages, which law enforcement believes discusses the sexual abuse of

minors, are as follows:

a. On January 14, 2015, the user es = a private chat message to
RE «2:2 “made it easier when daughter comes over...sis still calls me

when she gets drunk...of cource shes 20 now....still a good fuck ;).”

b. On January 14, 2015, the user Fo sent a private chat message to

ae stated “mmmm I want to cover that in cum.” Prior to this
message, ne had sent | multiple private chat messages that

contained links to images located on. hidden services with the path

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Po after the address. The links were no longer

active, but based on my training and experience, I know members of sites such as the
TARGET WEBSITE often send links to images of child pornography. The links
often expire after a certain amount of time or the original uploader deletes the file.

c. On Janurary 14, 2015, the user F sent two private chat messages to
P| that stated “gotta love the internet meet like minded folks” and “alone
man but another pedo helped me get started with her.”

35. Based on my training and experience and the review of the site by law
enforcement agents, I believe that the private chat function of the site, described above as the
TARGET FACILITY 2, is being used to communicate regarding the dissemination of child
pornography and to share information among users that may assist in the identification of the
TARGET SUBJECTS. |

36. A review of message threads also revealed that users discussed traveling to
foreign countries with the intent to sexually abuse children in a foreign country. One example of
this type of discussion is where user PE >< a thread on October 8, 2014, titled
“Travel Advice in Asia, SE Asia, and Australia,” and asked “I need to take a vacation soon
somewhere in Asia or Southeast Asia (though possibly as far as Australia). Can anyone give me
some tips for the best places to go to find accessible girls (10-13) in the region?...Whatever I
need to know to find some girls for a few days...Pay to play is fine.” Another user, P|
responded on October 8, 2104, and stated, “[Y]Jou can try phillippines, don’t go to Indonesia.” A
second user, TE sponded on October 11, 2014, and stated “[YJou will find that in most
countries child brothels are in the small villages and towns, not in cities...Most brothels will let

the very young do BJs, but no fucking which is left with the older girls. In Asian countries, a

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child brothel is quite easy to find, just ask around...Best is to arrange a girl to be delivered to
your hotel.”
Target Website Sub-Forums

37. While the entirety of the TARGET WEBSITE is dedicated to child pornography,
the following sub-forums of the TARGET WEBSITE were reviewed and determined to contain
the most egregious examples of child pornography and/or dedicated to textual descriptions of
sexually abusing children: (a) Pre-teen Videos - Girls HC; (b) Pre-teen Videos - Boys HC; (c)
Pre-teen Photos - Girls HC; (d) Pre-teen Photos - Boys HC; (e) Potpourri — Toddlers; (f)
Potpourri - Family Play Pen — Incest; (g) Spanking; (h) Kinky Fetish — Bondage; (I) Peeing; (j)
Scat®; (k) Stories - Non-Fiction; (I) Zoo; (m) Webcams — Girls; and (n) Webcams — Boys.

Identification and Seizure of the Computer Server Hosting the TARGET WEBSITE

38. In December of 2014, a foreign law enforcement agency advised the FBI that it
suspected IP address 192.198.81.106, which is a United States-based IP address, to be associated
with the TARGET WEBSITE. A publicly available website provided information that the IP
Address 192.198.81.106 was owned by a. server hosting company headquartered at

Pe Through further investigation, FBI verified that

TARGET WEBSITE was hosted from the previously referenced IP address. po

 
   

ee Search Warrant was obtained and executed at a January

2015 and a copy of the server (hereinafter the "Target Server") that was assigned IP Address

 

° Based on my training and experience, “scat” refers to sexually explicit activity involving defecation and/or feces.

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Po FBI Agents reviewed the contents of the Target Server and observed

that it contained a copy of the TARGET WEBSITE. A copy of the Target Server is currently
located on a computer server at a government facility in Newington, VA, in the Eastern District
of Virginia.

39, | While possession of the server data will provide important evidence concerning
the criminal activity that has occurred on the server and the TARGET WEBSITE, the identities
of the administrators and users of TARGET WEBSITE will remain unknown. Sometimes, non-
Tor-based websites have IP address logs that can be used to locate and identify the board’s users.
In such cases, a publicly available lookup would be performed to determine what ISP owned the
target IP address, and a subpoena would be sent to that ISP to determine the user to which the IP
address was assigned at a given date and time. However, in the case of TARGET WEBSITE, the
logs of member activity will contain only the IP addresses of Tor “exit nodes” utilized by board
users. Those IP address logs cannot be used to locate and identify the administrators and users of

TARGET WEBSITE.

 

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$2. Accordingly, on February 19, 2015, FBI personnel executed a court-authorized

search at the Naples, FL, residence of the suspected administrator of the TARGET WEBSITE.
That individual was apprehended and the FBI has assumed administrative control of the
TARGET WEBSITE. The TARGET WEBSITE will continue to operate from the government-
controlled computer server in Newington, Virginia, on which a copy of TARGET WEBSITE
currently resides. These actions will take place for a limited period of time, not to exceed 30
days, in order to locate and identify the administrators and users of TARGET WEBSITE through
the deployment of the network investigative technique described below. Such a tactic is
necessary in order to locate and apprehend the TARGET SUBJECTS who are engaging in the
continuing sexual abuse and exploitation of children, and to locate and rescue children from the
imminent harm of ongoing abuse and exploitation.

DEPLOYMENT OF NETWORK INVESTIGATIVE TECHNIQUE

 

” As explained supra, footnote 3, the administrator of the TARGET WEBSITE periodically changes its location and
URL in order to avoid law enforcement detection. As of February 18, 2015, investigation has revealed the current
IP address of the TARGET WEBSITE to be 199.241.188.206.

   

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53. As noted above, the TARGET WEBSITE will operate from a government facility
in Newington, Virginia, within the Eastern District of Virginia, and remain online and accessible
to the TARGET SUBJECTS for a limited period of time. During the period of this authorization,
FBI expects to concurrently deploy a court-authorized Network Investigative Technique (“NIT”)
on the TARGET WEBSITE in an attempt to identify the actual IP addresses and other
identifying information for computers used by TARGET SUBJECTS to access the TARGET
WEBSITE. The NIT will send one or more communications to TARGET SUBJECTS that
access the TARGET WEBSITE after the date of its deployment, which communications are
designed to cause the computer receiving it to deliver data that will help identify the computer,
its location, other information about the computer, and the user of the computer accessing the
TARGET WEBSITE. In particular, the NIT is designed to reveal to the government the
computer’s actual IP address, the date and time that the NIT determines what that IP address is, a
unique session identifier to distinguish the data from that of other computers: and other
information, and other information that may assist in identifying computers that accesses the
TARGET WEBSITE and their users. Separate authorization will be sought from this Court for
the execution of that search warrant and the deployment of the NIT.

TARGET SUBJECTS COMMUNICATIONS ON THE TARGET WEBSITE

54. TARGET SUBJECTS can communicate on the TARGET WEBSITE in four
ways: (1) through postings or reply postings on the website, which may include videos, images,
or links to videos or images, which are visible and accessible to any user who accesses the board,
including law enforcement agents; (2) through the public chat feature of the website, which may
also include videos, images, or links to videos or images, which are visible and accessible to any

user who accesses the board, including law enforcement agents; (3) through TARGET

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FACILITY 2, the private chat feature on the website, which is similar to the public chat function
but is only visible and accessible to the users engaged in the private chat; and (4) through
TARGET FACILITY 1, the private message function, which is similar to e-mail messages and
which are only accessible to the user who sent or received such a message and the site
administrator(s). Other than the private messaging function and private chat function, there are
no private areas of the TARGET WEBSITE where communications are only visible to some, but
not all, registered users.

55.  Inorder to access any of the content of the TARGET WEBSITE, it is necessary to
register with a username and a password. Only users of the TARGET WEBSITE who register
with a username and a password have access to the private messaging and private chat
functions. The private message function is not an “instant messaging” system where users
communicate in real time, but rather operates similar to sending and receiving e-mails. The
private chat function is similar to an “instant messaging” system where the users communicate in
real time, but only with other users who are engaged in the private chat. Multiple examples of |
public postings on the TARGET WEBSITE where TARGET SUBJECTS discuss the use of
private messaging and private chat are described herein.

56. TARGET SUBJECTS communicate anonymously on the sites, using aliases
known as “screen names.” TARGET SUBJECTS rarely, if ever, post any personally identifiable
information that would allow law enforcement to identify the TARGET SUBJECTS or the |
TARGET SUBJECTS actual location on areas of the TARGET WEBSITE accessible to all
users. In fact, the site specifically cautions its users not to post or share any identifying
information as described in the rules of TARGET WEBSITE listed in paragraph 20 of this

affidavit. Based upon my training and experience, users are more likely to send information that

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is identifying or that could corroborate other identifying information in private messages or

private chats exchanged only between board users. For example,

   

ee ®"e private messages, private chats, and postings in

private areas of the TARGET WEBSITE in real time will allow agents to act upon any

 

identifying details or details about child victims immediately upon the sending or receipt of such
a message or chat, rather than waiting for the later execution of a search warrant to retrieve
historical private message or private chat data. That information received in real time can be
paired with information gathered via the NIT and other information available in postings to help
to identify or corroborate the identity of TARGET SUBJECTS. Also based upon my training
and experience, users often privately trade child pornography which is facilitated by
communication via private messages or private chat. Users may directly send child pornography
via private message or private chat, or exchange information that allows them to trade child
pornography via other digital platforms — for example, another e-mail account, a file hosting
website, or other child pornography websites. Child pornography that is trafficked via file
uploading websites is often made available only for a limited period of time, which is a security
measure by the user in order to avoid detection. Where law enforcement agents are able to

intercept a communication directing a user to a file sharing website or to download location, that

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file can be downloaded by law enforcement and therefore preserved as evidence. Accordingly,
reviewing such messages in real time may provide crucial evidence of child pornography
trafficking which would not be available by reviewing historical messages. Furthermore, ] am
aware from training and experience as well as the review of seized data from the TARGET
WEBSITE that the administrators and moderators of the website communicate with each other
regarding the administration, management and facilitation of the TARGET WEBSITE via
private messaging. During the period of time that the TARGET WEBSITE will operate from a
government facility, those administrators and moderators may communicate via private
messages or private chats regarding any changes made to the TARGET WEBSITE and the
potential of law enforcement infiltration of the site. Law enforcement agents will be able,
following the apprehension of a. communicate as the main administrator of the TARGET
WEBSITE. However, law enforcement would not be able, absent the interception of private
messages, to learn in real time about communications between other administrators and
moderators suggesting an awareness of changes made to the TARGET WEBSITE (to facilitate
the investigative techniques discussed herein) and potential actions those administrators and
moderators may take to alert others, obstruct justice or destroy evidence. While the TARGET
WEBSITE is operating at a government facility for a limited period of time, FBI will have access
to all users’ private messages and private chats, which may include videos, images, or links to
videos or images, which are visible and accessible only to certain users of the sites.
PERSONS LIKELY TO BE INTERCEPTED
57. The INTERCEPTEES include MM} and those TARGET SUBJECTS

who send or receive private messages or private chats on the TARGET WEBSITE during the 30-

day period of this authorization. At this time, because of the anonymous nature of the Tor

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network and the choice of the TARGET SUBJECTS to utilize that functionality, the actual
identities of the TARGET SUBJECTS are unknown.
NECESSITY FOR COLLECTION OF PRIVATE MESSAGES AND PRIVATE CHATS

58. Based on my training and experience as a Special Agent, as well as the experience
of other law enforcement officers involved in this investigation, and based upon all of the facts
set forth herein, it is my belief that the seizure of the TARGET WEBSITE in conjunction with its
continued operation for a limited period of time, the deployment of a NIT to attempt to identify
actual IP addresses used by the TARGET SUBJECTS, and the interception of electronic
communications of the TARGET SUBJECTS occurring over the TARGET FACILITIES as
applied for herein, is the only available investigative technique with a reasonable likelihood of
securing the evidence necessary to prove beyond a reasonable doubt the identity of the TARGET
SUBJECTS and that they are engaging in the TARGET OFFENSES. I believe that such
combination of investigative steps are the only available technique likely to provide law
enforcement with the critical information needed for this investigation, i.e., evidence of the
actual identity of the TARGET SUBJECTS and that of their accomplices, aiders and abettors,
co-conspirators and participants in illegal activities, who have deployed advanced technology to
remain anonymous while conducting their illegal activity; the nature, extent and methods of ~
operation of TARGET SUBJECTS’ unlawful activities; the existence and locations of records
relating to those activities; communications between TARGET SUBJECTS and their
accomplices, aiders and abettors, co-conspirators and participants in those illegal activities; and
the location and identity of computers used to further the TARGET OFFENSES.

59, The interception of private messages and private chats in real time is necessary

for several reasons. TARGET SUBJECTS communicate anonymously on the sites, using aliases

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known as “screen names.” As described above, private messaging and private chat is only
available to users who register with a username and password. TARGET SUBJECTS rarely, if
ever, post any personally identifiable information that would allow law enforcement to identify
the TARGET SUBJECTS or the TARGET SUBJECTS actual location on areas of the TARGET
WEBSITE accessible to all users. In my training and experience, users are more likely to send
information that is identifying or that could corroborate other identifying information in private

messages and private chats exchanged only between board users or within private areas only

 

 

chats in real time will allow agents to act upon any identifying details or details about child

victims immediately upon the sending or receipt of such a message, rather than waiting for the
later execution of a search warrant to retrieve historical private message and private chat data.
That information received in real time can be paired with information gathered via the NIT and
other information available in postings to help to identify or corroborate the identity of TARGET
SUBJECTS.

60. Interception of private messages and private chats is also necessary for the
identification and protection of potential victims of child sexual abuse. There are postings to the
TARGET WEBSITE by at least two members who contend to have access to children, one of
which has posted images that the user contends are of sexual abuse the user has committed

against children. That individual (‘““CD-1”) was identified through other investigative means and
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admitted to producing images of child pornography subsequent to his arrest In

the event that a user shares information about child sexual abuse and/or the production of child
pornography in a private message or private chat that is being monitored in real time, agents can,
in conjunction with the deployment of the NIT and any other available evidence, immediately
take action to locate and identify that user in an attempt to prevent further abuse of that child. In
that scenario, reviewing such private messages and private chats only after the execution of a
search warrant would waste crucial time.

61. Moreover, in order for the NIT to have a chance to work, members need to
continue to access the TARGET WEBSITE after the NIT is deployed. In order to ensure that
users continue to access the TARGET WEBSITE, it is necessary that there be as minimal an
interruption as possible in the operation of the TARGET WEBSITE, so as not to create suspicion
among the TARGET SUBJECTS that a law enforcement action is taking place on the board. In
my training and experience and in reviewing messages posted on the TARGET WEBSITE, and
other child pornography and exploitation websites operating on the Tor network, interruptions in
service for more than a minimal time period is a tip-off to board users that law enforcement
infiltration may be going on and may result in users not accessing the board for a period of time.
Law enforcement will review historical private messages and private chats for any identifying

information shared by TARGET SUBJECTS, however, that review takes time. Review of the

seized copy of TARGET WEBSITE has included ee
ss of that data is ongoing and efforts are being made to determine
which, if any, of the identified TI 3; be utilized t

obtain a true identity for any users of TARGET WEBSITE. Other than [and CD 1, none of

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the other administrators or users have been identified. Waiting for such a review to be complete
before deploying a NIT and monitoring private messages and private chats on the TARGET
WEBSITE in real time would deprive law enforcement of potentially crucial information at a
critical phase in the investigation.
NORMAL INVESTIGATIVE PROCEDURES

62. Based upon your affiant's training and experience, as well as the experience of
other FBI agents and law enforcement officers with whom I have investigated this case, and
based upon all of the facts set forth herein, it is your affiant's belief that the seizure of the
TARGET WEBSITE in conjunction with its continued operation for a limited period of time, the
deployment of a NIT to attempt to identify actual IP addresses used by the TARGET
SUBJECTS, and the interception of electronic communications of the TARGET SUBJECTS
occurring over the TARGET FACILITIES is the only available technique with a reasonable
likelihood of securing the evidence necessary to prove that the TARGET SUBJECTS are
engaging in the SUBJECT OFFENSES beyond a reasonable doubt. Due to the unique nature of
the information sought, numerous investigative procedures that are usually employed in criminal
investigations of this type have been tried and have failed, reasonably appear to be unlikely to
succeed if they are tried, or are too dangerous to employ for the reasons discussed below.

UNAVAILABILITY OF ALTERNATIVE INVESTIGATIVE TECHNIQUES .

63. Your affiant and other investigators in criminal investigations of violations of
Title 18, United States Code, Sections 2251 and 2252A, et seq., customarily use the following
investigative techniques: (a) physical surveillance; (b) use of Grand Jury Subpoenas; (c)
interview of subjects or associates; (d) search warrants; (e) infiltration by undercover officers;

and (f) use of cooperating individuals.

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64. Over the past three years, investigators have also explored various means and
methods of investigating Tor based websites and offenders using Tor. As set forth below these
techniques are insufficient to accomplish the objectives of the investigation.

Physical Surveillance

65. Physical Surveillance is unavailable because the TARGET SUBJECTS, other

than P are unidentified and communicating in a way that provides for their anonymity.
Grand Jury Subpoenas

66. Grand Jury subpoenas are unavailable because all of the TARGET SUBJECTS,
other than | | are unidentified and communicating in a way that provides for their
anonymity.

Interview of Subject or Associates

67. Interviewing TARGET SUBJECTS or any associates is impossible because all of
the TARGET SUBJECTS (but for [NM ang Cb-1) are unidentified and communicating
in a way that provides for their anonymity.

68. CD-1, a member of TARGET WEBSITE previously referenced in this affidavit,
who was arrested a «:: interviewed subsequent to his arrest. He did not provide
any information that could be used by law enforcement to identify other users of TARGET
WEBSITE.

Search Warrants

69. Search warrants are being used actively in this investigation. For example, FBI
expects to execute search warrants to deploy a NIT to attempt to identify the TARGET
SUBJECTS. As noted herein, however, the execution of the search warrant to seize a copy of
the TARGET WEBSITE was insufficient to identify TARGET SUBJECTS and interdict their

illegal activity. While possession of the data will provide important evidence concerning the

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criminal activity that has occurred on the server and the TARGET WEBSITE, the identities of
the other administrators and users of the TARGET WEBSITE will remain unknown.
Sometimes, non-Tor-based websites have IP address logs that can be used to locate and identify
the board’s users. In such cases, a publicly available lookup would be performed to determine
what ISP owned the target IP address, and a subpoena would be sent to that ISP to determine the
user to which the IP address was assigned at a given date and time. However, in the case of the
TARGET WEBSITE, logs of member activity, if any, will contain only the IP addresses of Tor
“exit nodes” utilized by board users, Those IP address logs cannot be used to locate and identify
TARGET SUBJECTS of the TARGET WEBSITE. In order to attempt to identify those users,
the website needs to remain operating so that authorization may be obtained to employ a NIT on
the site to identify true IP addresses of TARGET SUBJECTS. The execution of a search warrant
to seize the TARGET WEBSITE alone would not provide such authority.

70. Agents could execute another search warrant at a later date to again review
historical private messages and private chats by TARGET SUBJECTS. Reviewing only
historical private messages, private chats, and postings, however, is not sufficient for the reasons
stated above, A search warrant will not provide real-time information about TARGET
SUBJECTS or communications between and among the TARGET SUBJECTS about their
unlawful activities. That real-time information can be paired with other identifying data from a
NIT to allow agents to quickly locate and apprehend TARGET SUBJECTS before or as soon as
possible after the TARGET WEBSITE ceases operating. When the TARGET WEBSITE ceases
to operate, in my training and experience, there is likely to be speculation among TARGET
SUBJECTS that a law enforcement action has been taken against the TARGET WEBSITE. That
may cause TARGET SUBJECTS to flee or destroy evidence before they can be apprehended.
The need for real-time information that can be quickly acted upon is heightened in the event that
TARGET SUBJECTS disclose information about ongoing sexual abuse of child victims. Solely

reviewing historical private messages, private chats, or postings may prevent agents from

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immediately acting upon evidence of ongoing abuse disclosed via private messages or private

chats,

71. Search warrants for the physical premises of the TARGET SUBJECTS are

unavailable because the other TARGET SUBJECTS are unidentified and communicating in a
way that provides for their anonymity. It is not presently known with any certainty where any of
the remaining TARGET SUBJECTS reside, or where they receive, hide, transfer, and conceal
the proceeds of their crime. Once other TARGET SUBJECTS have been identified, the use of
search warrants of physical premises may be a valuable tool. However, until that time, the use of
search warrants of physical premises of the TARGET SUBJECTS is infeasible.

72. Agents have considered. seizing the TARGET WEBSITE and removing it from

existence immediately and permanently. However, at this time, no TARGET SUBJECTS
besides the administrator described above have been identified. There are multiple TARGET
SUBJECTS who claim that they are sexually abusing children and sharing images of that abuse
with others. Removing the TARGET WEBSITE from existence immediately and permanently
upon seizure would end the distribution and receipt of child pornography taking place on the
TARGET WEBSITE, however, it would prevent law enforcement from attempting to locate and
identify the TARGET SUBJECTS and their child victims, and attempting to rescue those child
victims from ongoing abuse, Any attempt to identify TARGET SUBJECTS requires that the
TARGET WEBSITE remain operating for some period of time. Accordingly, it is your affiant's
belief that the seizure of the TARGET WEBSITE in conjunction with its continued operation for
a limited period of time, the deployment of a NIT to attempt to identify actual IP addresses used
by the TARGET SUBJECTS, and the interception and collection of private messages and private
chats sent/received by TARGET SUBJECTS is appropriate in this case.

Confidential Informants, Cooperating Sources, and Undercover Agents

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73. Undercover agents have been used in this investigation to access the TARGET
WEBSITE and document the sites, their categories, and postings on the sites. Cooperating
individuals are unavailable because the TARGET SUBJECTS are currently unidentified and
therefore not available to assist with law enforcement activities. The use of undercover agents,
confidential informants and cooperating sources in this investigation is unlikely to succeed,
however, in terms of meeting the stated objectives of the investigation at this stage. In order to
obtain personally identifying. data about a TARGET SUBJECT, an undercover agent or
cooperating individual would have to engage in private messaging with that TARGET
SUBJECT, develop a significant and trusting relationship with the TARGET SUBJECT, and
attempt to elicit personally identifying information from the TARGET SUBJECT. As noted
above, postings on the TARGET WEBSITE caution its members against providing such
information. In my training and experience, such information is much more likely to have been
exchanged between existing TARGET SUBJECTS who have already developed such a
relationship with each other and shared such information via private messages or private chats.

74. Moreover, using an “administrator” account on the TARGET WEBSITE to
attempt to elicit personally identifiable information from TARGET SUBJECTS is not feasible
and would immediately be viewed by TARGET SUBJECTS as suspicious and indicative of law
enforcement infiltration of the board. That would likely lead unidentified TARGET SUBJECTS
to flee the board and/or destroy evidence of their unlawful activity.

Pen Registers and Trap and Trace Devices

75. Pen registers and trap and trace type data have been utilized in this case to verify

that the IP Address hosting the TARGET WEBSITE is sending and receiving data on the Tor

network. However, at this stage of the investigation, they are inadequate investigative

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techniques. Pen registers do not enable law enforcement officers te obtain the content of
communications, which is necessary in order to identify the TARGET SUBJECTS. Moreover,
because of the way that Tor operates, a pen register and trap and trace device deployed on the
TARGET WEBSITE would reveal only the Tor “exit node” used by TARGET SUBJECTS to
access the board, which cannot be used to locate and identify that user.
Electronic Interception

76. There have been no prior electronic interceptions of communications occurring on

the TARGET WEBSITE.
MINIMIZATION

77. Only electronic communications (i.e., private messages and private chats) will be
intercepted. All intercepted communications of the TARGET SUBJECTS will be minimized in
accordance with Chapter 119 of Title 18, United States Code. The computer server intercepting
all communications and on which the TARGET FACILITIES are located will be in Newington,
VA, in the Eastern District of Virginia during the period of interception. A copy of intercepted
communications will be sent to an FBI facility in BEM 2xy12n¢, where certain FBI
personnel will be stationed while the TARGET WEBSITE remains operating. Each private
message and private chat will be reviewed over a secure system, and based on the identities of
the sender and recipient and the content of the private message or private chat, monitoring
personnel will determine as soon as practicable after interception whether the private message or
private chat appears to be relevant to the investigation or otherwise criminal in nature. If the
private message or private chat is not criminal in nature, the private message or private chat will
be marked “minimized” and not accessed by other members of the investigative team. If the

private message or private chat appears to be privileged, it will be marked “privileged” and

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secured from access by other members of the investigative team. If a private message or private
chat appears to be relevant to the investigation or otherwise criminal in nature, it will be marked
“non-minimized” and may be shared with the other agents and monitors involved in the
investigation. If a private message or private chat is marked “minimized” or “privileged,” it will
not be disseminated to members of the investigative team. All intercepted private messages and
private chats will be sealed with the court upon the expiration of the court’s order authorizing the
interception. It is anticipated that the monitoring location will be staffed at all times, at which
time intercepted communications will be monitored and read. The monitoring location will be
kept secured with access limited to only authorized monitoring personnel and their supervising
agents.

78. As of February 12, 2015, a search of the Electronic Surveillance (ELSUR)
Automated Records Systems for DEA, ICE and the FBI was conducted and revealed no prior
applications for Court authorization to intercept the wire, oral, or electronic communications
involving the same subjects, facilities, or premises specified in this affidavit.

79, IT IS REQUESTED that this Affidavit, the attached Application, the resulting

Order, and all reports submitted pursuant to the Order, b 7 until further order of the court.

A. ff

Satie Zr s, Special Agent
Federal pies of Investigation

 

sworn before me
on thisZ0Aay of Februgry, 2015.

Anthony J. Trenga //
United States Dis ki Judes

  

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FILED
IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA

ALEXANDRIA DIVISION 715 FEB 20 A & 38
IN THE MATTER OF THE APPLICATION

OF THE UNITED STATES OF AMERICA CAS K Ld ES-AT COURT
FORAN ROSE AUTHORING THe eA CA
COMMUNICATIONS :

ORDER AUTHORIZING INTERCEPTION OF ELECTRONIC
COMMUNICATIONS

Application under oath having been madé before me by Assistant United States
Attorney for the Eastern District of Virginia Whitney Dougherty Russell and Department of
Justice Child Exploitation and Obscenity Section Trial Attorney Michael Grant (hereinafter
“the rosecutors”), who are investigative or law enforcement officers of the United States
within the meaning of Section 2510(7) of Title 18, United States Code, for an order pursuant
to Section 2518 of Title 18, United States Code, authorizing the interception of electronic

’ communications, and full consideration having been given to the matters set forth therein, the
Court finds:

a. there is probable cause to believe that a 2 other unidentified
administrators and users (“TARGET SUBJECTS”) of the child pornography website
upf45jv3bziuctml.onion (’*TARGET WEBSITE”) have committed, are committing, and will
continue to commit federal felony offenses as provided for by Section 2516(3) of Title 18,
United States Code, that is: 18 U.S.C. § 2252A(g), Engaging in a Child Exploitation
Enterprise; 18 U.S.C. §§ 2251(d)(1) and (e), Advertising and Conspiracy to Advertise
Child Pornography; 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1), Receipt and Distribution of, and

Conspiracy to Receive and Distribute Child Pornography; 18 U.S.C. §§ 2252A(a)(5)(B) and
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(b)(2), and Knowing Possession of, Access or Attempted Access With Intent to View Child
Pornography (“TARGET OFFENSES”);

b. there is probable cause that the TARGET SUBJECTS, during the period of
interception authorized by this Order, will use the private message function (“TARGET
FACILITY 1”) and private chat function (“TARGET FACILITY 2”), of the TARGET
WEBSITE in furtherance of the offenses described above;

c. there is probable ‘cause to believe that the interception of electronic
communications authorized by the Order will reveal: (1) the nature, extent and methods of
operation of the TARGET SUBJECTS’ unlawful activities; (2) the identity of the TARGET
SUBJECTS and their victims, accomplices, aiders and abettors, co-conspirators and
participants in their illegal activities, or information that may be useful in establishing the
identity of their victims, accomplices, aiders and abettors, co-conspirators and participants in
their illegal activities; (3) the advertising, receipt, and distribution of child pornography
related to those activities; (4) the existence and locations of records relating to those
activities; and (5) the location and identity of computers used to further the TARGET
OFFENSES. In addition, these electronic communications are expected to constitute
admissible evidence of the commission of the above-described offenses. It is expected that
monitoring of TARGET FACILITY 1 and TARGET FACILITY 2 (together referred to as the
“TARGET FACILITIES”) will provide valuable evidence against the TARGET SUBJECTS
involved in illegal activities that cannot reasonably be obtained by other means; and

d. it has been established that normal investigative procedures have been tried and
have failed, reasonably appear unlikely to succeed if tried, or are too dangerous to employ.

WHEREFORE, IT IS HEREBY ORDERED pursuant to Section 2518 of Title 18, United
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States Code, that the FBI and/or individuals employed by or Operating under a contract with
the government and acting under the supervision of the FBI, are authorized to intercept
electronic communications of the TARGET SUBJECTS occurring over the TARGET
FACILITIES, until such electronic communications are intercepted that fully reveal: (1) the
nature, extent and methods of operation of the TARGET SUBJECTS’ unlawful activities; (2)
the identity of the TARGET SUBJECTS and their victims, accomplices, aiders and abettors,
co-conspirators and participants in their illegal activities, or information that may be useful in
establishing the identity of their victims, accomplices, aiders and abettors, co-conspirators
and participants in their illegal activities; (3) the advertising, receipt, and distribution of
child pornography related to those activities; (4) the existence and locations of records -
relating to those activities; and (5) the location and identity of computers used to further the
target offenses; and (6) admissible evidence of the commission of the above-described
offenses - or for a period of thirty (30) days, to be measured from the earlier of the day on
which the investigative or law enforcement officer first begins to conduct an interception
under the Order or 10 days after the Order is entered, whichever is earlier from the date of
this authorization.

IT IS FURTHER ORDERED that, pursuant to Section 2518 of Title 18, United States
Code, special agents with the FBI, and other “investigative and law enforcement officers,” as
defined in Section 2510(7) of Title 18, United States Code, to be assisted, if necessary, by
authorized translators, are authorized to intercept and to record electronic communications of
the TARGET SUBJECTS over the TARGET FACILITIES, and that this Order shall be

executed as soon as practicable.

IT IS FURTHER ORDERED that all monitoring of electronic communications shall
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be conducted in accordance with Chapter 119 of Title 18, United States Code. That is, the
computer server intercepting all communications and on which the TARGET FACILITIES
are located will be in Newington, VA, in the Eastern District of Virginia during the period of
interception. A copy of intercepted communications will be sent to a facility ii
MD, where certain FBI personnel will be stationed while the TARGET WEBSITES remain
operating. Each private message will be reviewed over a secure system, and based on the
identities of the sender and recipient and the content of the private message or private chat,
monitoring personnel will determine as soon as practicable after interception whether the
private message or private chat appears to be relevant to the investigation or otherwise
criminal in nature. If the private message or private chat is not criminal in nature, the private
message or private chat will be marked "minimized" and not accessed by other members of
the investigative team. If the private message or private chat appears to be privileged, it will
be marked "privileged" and secured from access by other members of the investigative team.
Ifa private message or private chat appears to be relevant to the investigation or otherwise
criminal in nature, it will be marked "non-minimized" and may be shared with the other
agents and monitors involved in the investigation. If a private message or private chat is
marked "minimized" or "privileged," it will not be disseminated to members of the
investigative team. All intercepted private messages and private chat will be sealed with the
Court upon the expiration of the court's order authorizing the interception. It is anticipated
that the monitoring location will be staffed at all times, at which time intercepted
communications will be monitored and read.’ The monitoring location will be kept secured
with access limited to only authorized monitoring personnel and their supervising agents.

IT IS FURTHER ORDERED that the FBI, and any other law enforcement agency, is
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permitted to intercept any electronic communications sent from, received by or occurring
over the TARGET FACILITIES, including without limitation to any activity of any nature
occurring within the TARGET FACILITIES, private messages and private chats sent from or
received by the TARGET FACILITIES, draft private messages and private chats, and deleted
private messages and private chats.

IT IS FURTHER ORDERED THAT the prosecutors or any other Special Assistant
United States Attorney or Department of Justice Trial Attorney familiar with the facts of this
case, shall cause to be provided to the Court a report on or about the fifteenth and thirtieth day
following the date of the Order or the date interception begins, whichever is later, showing
the progress that has been made toward achievement of the authorized objectives and the
need for continued interception, although if the Order is renewed for a further period of
interception, the application for renewal may serve as the report on or about the thirtieth day.
If any of the above-ordered reports should become due on a weekend or holiday, such report
shall become due on the next business day thereafter.

IT IS FURTHER ORDERED that this Order, as well as the supporting Application,
Affidavit (along with its attachments), proposed Orders, and all interim reports filed with the
Court, be sealed until further order of this Court, except that copies of the Order, in full or
redacted form, may be served on the FBI as necessary to effectuate the Court’s Order.
Moreover, the United States may disclose the existence of the interception Order and the
contents of pertinent intercepted communications, pursuant to Title 18, United States Code,
Sections 2517(2) and (3), as appropriate for the purposes of providing relevant facts to a
Court in support of any complaint, arrest warrant, and search or seizure warrant. In addition,

the United States may disclose facts, pursuant to Title 18, United States Code, Sections
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2517(2) and (3), to provide relevant testimony at any preliminary hearings, detention
hearings, grand jury proceedings and other proceedings pertaining to the TARGET
SUBJECTS and others as yet unknown. The United States may also disclose facts to foreign
investigative or law enforcement officers, pursuant to Title 18, United States Code, Section
2517(7), as necessary to the proper performance of the official duties of the offer making or
receiving such disclosure, and that foreign investigative or law enforcement officers may use
or disclose such facts or derivative evidence to the extent such use or disclosure is appropriate
to the proper performance of their official duties.

IT IS FURTHER ORDERED that no inventory or retum of the results of the
foregoing interception need be made, other than the above required reports, before 90 days
from the date of the expiration of the Order, or any extension of the Order, or at such time as

the Court in its discretion may require; and

IT IS FURTHER ORDERED that, upon an ex parte showing of good cause to a judge
of competent jurisdiction, the service of the above inventory or return may be postponed for a
further reasonable period of time.

DATED: February 20, 2015

 

Anthony J. Trecea f/f /
Penida Gates BEIAAWAMEEHONY J. TRENGA
UNITED STATES DISTRICT JUDGE

Presented by: AUSA Whitney Dougherty Russell
Trial Attorney Michael Grant
